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                                          EXHIBIT A

                                    Redline of Proposed Order




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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION


In re:                                                       Case No. 18-32106

Erin Energy Corporation, et al.,3                            (Chapter 11)

             Debtors.                                        (Jointly Administered)


AGREED ORDER RESOLVING BUMI’S (I) EMERGENCY MOTION FOR AN ORDER
  PURSUANT TO SECTIONS 105(A), 362(D)(1), AND 363(E) OF THE BANKRUPTCY
CODE MODIFYING THE AUTOMATIC STAY AND GRANTING RELATED RELIEF
 AND (II) EMERGENCY MOTION TO COMPEL ASSUMPTION OR REJECTION OF
   EXECUTORY CONTRACTS PURSUANT TO SECTIONS 105(A), 105(D)(2), AND
                  365(D)(2) OF THE BANKRUPTCY CODE
                        (Relates to Dkt. Nos. 69 & 71)

             Upon consideration of the Emergency Motion for an Order Pursuant to Sections 105(a),

362(d)(1), and 363(e) of the Bankruptcy Code Modifying the Automatic Stay and Granting

Related Relief (the “Stay Motion”) [Dkt. No. 69], and the Emergency Motion to Compel

Assumption or Rejection of Executory Contracts Pursuant to Sections 105(a), 105(d)(2), and

365(d)(2) of the Bankruptcy Code (the “Motion to Compel”) [Dkt. No. 71] filed by Armada

Oyo Limited (“AOL”) and Bumi Armada (Singapore) Pte. Ltd. (“BASPL,” and together with

AOL, “Bumi”); based on the evidence set forth on the record and in light of the agreement

reached between Bumi and the above-captioned debtors and debtors in possession (the

“Debtors”); this Court finds that: (i) it has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334; (ii) venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

(iii) the relief requested in the Stay Motion and the Motion to Compel, as agreed by the parties

below, is necessary and warranted in light of the factual circumstances of these cases;


3
 The last four digits of Erin Energy Corporation’s federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Kenya Limited; Erin Energy Kenya Limited; and Erin Petroleum
Nigeria Limited. The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston, TX 77056.

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(iv) Bumi’s notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and (v) the legal and factual bases

set forth in the motions and at the hearing establish just cause for the relief granted herein.

Accordingly, after due deliberation and sufficient cause appearing therefor,

             It is hereby ORDERED THAT:

             1.           The Debtors shall pay to Bumi by wire transfer as directed by Bumi, in partial

satisfaction of their continuing obligations under the Charterparty4 and the O&M Contract (the

“Agreements”) in connection with the continued maintenance of the FPSO Armada Perdana (the

“Perdana”) in the Oyo Field (except as set forth below), and as set forth in the second interim

cash collateral budget, the sum of (a) $1,250,000.00 (the “First Bumi Installment”) within

forty-eight (48) hours of the Debtors’ receipt of the authorized cash collateral amounts from

Mauritius Commercial Bank Ltd. (and any of its assignees or successors), but no later than 3:00

p.m. (CT) on May 30, 2018 (the “First Bumi Installment Deadline”); and (b) an additional

$1,250,000.00 (the “Second Bumi Installment” and, with the First Bumi Installment, the “Bumi

Installments”) no later than thirty (30) days after the First Bumi Installment Deadline (the

“Second Bumi Installment Deadline”). Provided, however, the Debtors shall have the option to

terminate the Agreements by filing in these cases a notice of termination at any time (a

“Termination Notice”). Upon the filing of a Notice of Termination, the Debtors shall not be

obligated to make the Bumi Installments pursuant to this Order (subject to the reservations of

right and claims set forth at paragraph 6, below); provided, however, once a Bumi Installment

Payment has been made by the Debtors, such payment(s) shall be final, not subject to claw-back,

or otherwise avoidable.


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  Capitalized terms used but not defined herein have the meanings ascribed to them in the Stay Motion and/or
the Motion to Compel.

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             2.           Pursuant to section 362(d)(1) of the Bankruptcy Code, the automatic stay is

hereby modified to the extent necessary to permit Bumi to: (A) take all necessary actions with

respect to the ownership and operation of the Perdana to ensure the health and safety of the

Perdana, her crew, and the surrounding environment; (B) other than disconnection of the risers

and offloading of the Stored Crude, take steps necessary to complete the demobilization of the

Perdana; (C) obtain any required relief from any relevant regulatory or, governmental or judicial

authorities that may be required to demobilize the Perdana (provided that Nigerian Agip

Exploration Limited (“NAE”) may participate in and respond to such matters with the relevant

regulatory, governmental or judicial authorities); and (D) join or participate in any existing

action in any court of competent jurisdiction, including any action in the Nigerian courts to

interplead the proceeds of any sale or disposition of the Stored Crude, and to comply with the

orders of such courts subject to the payment and satisfaction of all actual costs incurred by Bumi

in connection with facilitating any such sale or disposition and discharge of the Stored Crude

(from the proceeds, to the extent the proceeds are determined to be EPNL’s property, thereof or

otherwise from EPNL).

             3.           On the earlier of (i) the date of receipt by Bumi of any Termination Notice,

(ii) failure to remit the First Bumi Installment by the First Bumi Installment Deadline, or

(iii) failure to remit the Second Bumi Installment by the Second Bumi Installment Deadline, the

Agreements shall be deemed rejected pursuant to section 365 of the Bankruptcy Code, any and

all interests of the Debtors in or to the Perdana shall be immediately terminated, and the

automatic stay shall be modified for all purposes to allow Bumi to demobilize the Perdana,

without prejudice to the rights of other entities asserting an interest in the Stored Crude,

including NAE. Provided, however, the Debtors shall have two (2) business days to cure any



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payment default relating to the First Bumi Installment Deadline or the Second Bumi Installment

Deadline.

             4.           In the event that the Debtors make each of the First and Second Bumi

Installments, unless otherwise agreed by the parties in writing, the Agreements shall be deemed

rejected, any and all interests of the Debtors in or to the Perdana shall be immediately

terminated, and the automatic stay shall be modified for all purposes to allow Bumi to

demobilize the Perdana on or after July 31, 2018, without prejudice to the rights of other entities

asserting an interest in the Stored Crude, including NAE.

             5.           The Debtors shall escrow $200,000.00 to pay the estimated expenses to flush and

lay down the lines, and shall pay all such expenses to flush and lay down the lines, if and when

the Perdana may be disconnected from the risers. For the avoidance of doubt, Bumi shall have no

responsibility to pay expenses in connection with flushing and laying down the lines.

             6.           Notwithstanding the modification or termination of the automatic stay pursuant to

this Order, Bumi will not discharge or otherwise remove the Stored Crude from the Perdana

without either an agreement with the Debtors and other entities asserting an interest in the Stored

Crude, including NAE, or further order of the Bankruptcy Court.

             7.           The payments contemplated herein are in partial satisfaction of the amounts owed

to Bumi under the Agreements. All rights to assert an administrative or other claim(s) relating to

the Agreements or under applicable law or equity are expressly reserved by Bumi. The Debtors’

rights to argue to the contrary or to object to any portion of Bumi’s claim are likewise reserved.

             8.           The Debtors are hereby authorized and directed to take all actions necessary to

effectuate the relief granted in this Order, including providing Bumi reasonable support in

furtherance of their actions to effectuate the relief granted by this Order and in connection with



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the redelivery of the Perdana to AOL and working expeditiously to sell, discharge, or otherwise

remove the Stored Crude onboard the Perdana without prejudice to the rights of other entities

asserting an interest in the Stored Crude, including NAE.

             9.           The Debtors are hereby authorized to remove those items listed on Exhibit A,

attached hereto, which are property of the Debtors; provided, however, that removal of the items

shall be accomplished at the sole expense of the Debtors and shall be accomplished in a

commercially reasonable manner without causing damage to the Perdana (or reasonably

repairing any damage that may be caused), and Bumi shall reasonably coordinate and cooperate

in such removal.

             10.          Notwithstanding anything contained herein to the contrary, the relief granted

herein, along with any rights associated with such relief pursuant to this Order, is subject to any

required relief or requirements from or of any relevant Nigerian or other regulatory,

governmental or judicial authorities or tribunals.

             1011.            The fourteen (14) day stay provided for under Bankruptcy Rule 4001(a)(3) is

hereby waived and this Order is effective immediately.

             1112. This Order shall bind any trustee hereafter appointed, regardless of the dismissal,

withdrawal, consolidation, conversion or refilling of these cases.

             1213. This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order, subject to the

jurisdiction of the Nigerian or other courts and authorities as applicable.

Houston, Texas
Dated: May ___, 2018
                                                        __________________________________________
                                                        ___
                                                        UNITED STATES BANKRUPTCY JUDGE



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AGREED AS TO FORM AND SUBSTANCE:
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                                                        EXHIBIT A

                        INVENTORY OF ERIN PROPERTY ON BOARD THE PERDANA
                                      AS AT 14TH APRIL 2018

     S/NO                         Item                            Quantity                    Location
1.              10” container with oil spill response    2                       Forward laydown area.
                equipment
2.              Power pack and crane on a flat rack      1                       Forward laydown area
3.              Oil spill dispersant                     3 tote tanks            Forward laydown area
4.              Dispersant spray machine                 1                       Forward laydown area
5.              1m Orange retrieved mooring buoy         1                       Forward laydown area
6.              Methanol                                 8,223 Liters            Methanol day tank
7.              HW443 Hydraulic Oil                      14,000 Liters           Process deck
8.              1 Horse power A/C                        1                       AHU Room on Alternate Muster
                                                                                 point.
9.              Subsea spares and equipment              As contained in the     Pantry room on C-Deck and the E-
                                                         subsea inventory list   House.
10.             Installed Yellow mooring buoy            1                       05’ 23.82” North 004’ 33.4” East
                                                                                 (1.8Nm from Perdana FPSO).
11              HMI                                      4 (1 in service and 3   CCR and Library
                                                         under repair)
12.             MCS                                      1                       E-House
13              TUTU                                     1                       Mid-ship port side of main deck
14              HPU                                      1                       Process area
15              EPU                                      2                       E-House
16.             UTH                                      1                       Mid-ship port
                                                                                 side of main deck
17.             Bullhead Plate                           1                       Mid-ship port side of main deck
18.             IBM Typewriter                           2                       Room C-503 on C-Deck.
19.             1,000 mtrs Penant 54mm                   1 pcs                   Al-Harthy Tide deck
20.             1,000 mtrs wire 54mm                     1 pcs                   Al-Harthy Tide deck.




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